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Ao sss (Rev. 02/14) subpoena hamm lowman or obqug m_ m yeme of_ 7 -TF|L.EP
UNITED STATES DISTRlCT CoUF

for‘the 7
District of Neuada

    

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In re DMCA Subpoena to FCZ, |nc.
' ` Plainq'j‘ ' ' ’
v.

 

 

 

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n Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJ`ECTS
OR TO PERMIT [NSPECTION OF_ PREMISES IN A CIV]L ACTION

To: " " 4 FC2, |no.

 

(l\.'ame of person to whom this subpoena is directed)

d Progincrio_n: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents', electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
materia];All information suHicient to identify each of the inii'ingers (thc "In&ingers"), each of whom is identified under,the columns entitled as "Nioknnme
of Submitter" and "Snbmitter of lnfi'inging Work" respectively, corresponding to each of the lnfringing Work, as speciiied in Exhibit A to the notice dated
Novemberzl, 2017, attached to this subnoena, from any and all sources, including but not limited to billing or administrative records thatprove the
following information used by each of dle'lnii'ingers, along wrth|ime-stamp, from the time of user registration and to date: the name(s); the last known
address(es); last known telepione number(s); any and all email address(es); and any and all Bgof IP address(ee);

 

 

 

 

Pla<>e¢ wElDE s MlLLER, LTD. Dafe and Tim =
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EI 'Inspectz’on of Premises: ¥0U AR_E COMMANDED»to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

vT¢l=-'l.'¢n>e: 7 -- ' ' - Date and Time:

 

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of cornpliancc;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: i‘L_/[ z[ll

OR

 

 

 

Attomey 's signature

 

‘I'he name, address, e-mail address, and telephone number of the attorney representing (name afpargd

h.m.p. Co., Ltd. , who issues or requests this subpoena, are:
Ryan Gile, Esq.; WE|DE & M|LLER, LTD., 10655 Park Run Drive, Suite 100, Las Vegas, NV 89144;
RGile@weidemi|ler.com; (702) 382-4804 '

¢r
Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

